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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ANGEL LUIS THOMAS,                        No. 3:16-CV-00451

            Plaintiff,                    (Judge Brann)

      v.

ANGELA R. DUVALL, et al.,

            Defendants.

                                ORDER

                            OCTOBER 21, 2020

     In accordance with the accompanying Memorandum Opinion, IT IS

HEREBY ORDERED that Thomas’ motion for reconsideration (Doc. 116) is

DENIED.


                                      BY THE COURT:


                                      s/ Matthew W. Brann
                                      Matthew W. Brann
                                      United States District Judge
